






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00616-CR






Cedric Cornelius Greene, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 55,273, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's brief on appeal was due December 8, 2003.  No brief has been filed on
appellant's behalf, and appointed counsel did not respond to the notice that the brief is overdue.

Appellant's counsel, Mr. Robert O. Harris, III, is ordered to file a brief in appellant's
behalf no later than March 8, 2004.  No further extension of time will be granted. 

It is ordered February 6, 2004.


Before Chief Justice Law, Justices Patterson and Puryear

Do Not Publish


